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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  TIMOTHY KING, et al.,

                  Plaintiffs,
  v.                                                   Case No. 20-13134
                                                       Honorable Linda V. Parker
  GRETCHEN WHITMER, et al.,

             Defendants.
  __________________________/

                      ORDER RE: BRIEFING SCHEDULE

        This matter is presently before the Court on Plaintiffs’ Emergency Motion

for Temporary Restraining Order (ECF No. 7) and Emergency Motion to Seal

(ECF No. 8.)

        IT IS ORDERED that Defendants’ response to Plaintiffs’ Emergency

Motion for Temporary Restraining Order (ECF No. 7) and Emergency Motion to

Seal (ECF No. 8.) shall be filed no later than 8:00 PM on Wednesday, December 2,

2020.

        IT IS FURTHER ORDERED that replies, if any, to Defendants’ Response

to Plaintiffs’ Emergency Motion for Temporary Restraining Order (ECF No. 7)

and Emergency Motion to Seal (ECF No. 8.) shall be filed no later than 8:00 PM

on Thursday, December 3, 2020.
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      IT IS FURTHER ORDERED that, in the event that the Court grants the

Motions to Intervene (ECF Nos. 5, 12, 14), the movants shall file a response to

Plaintiffs’ Emergency Motion for Temporary Restraining Order (ECF No. 7) and

Emergency Motion to Seal (ECF No. 8.) on the same schedule as Defendants.

      IT IS SO ORDERED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE

 Dated: December 1, 2020




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